OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3:05CR104-04
                  AMOS CALVIN HALL, JR.
                                                                       )   USM No: 20262-058
Date of Previous Judgment: January 7, 2008                             )   Keith Stroud
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    37               Amended Offense Level:                                         37
Criminal History Category: II               Criminal History Category:                                     II
Previous Guideline Range: 240 to 293 months Amended Guideline Range:                                       240       to 293   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): Because the combined offense level for the two drug types involved in this offense (cocaine base and
                     cocaine powder) after the two-level reduction would be less than the offense level for the cocaine
                     powder alone, the 2-level reduction does not apply. Therefore, Amendment 706 has no effect on the
                     defendant's sentence.


III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated January 7, 2008                    shall remain in effect.
IT IS SO ORDERED.

Order Date:        April 16, 2009


Effective Date:
                     (if different from order date)



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